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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY
Caption in Compliance with D.N.J. LBR 9004-1
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Counsel to the Administrative and
Priority Claims Agent

In re:                                                                Chapter 11

FRANK THEATRES BAYONNE/SOUTH                                          Case No. 18-34808 (SLM)
COVE, LLC, et al.,12
                                                                      Jointly Administered
                           Debtors.


                      CERTIFICATION OF CONSENT REGARDING
                   STIPULATION AND CONSENT ORDER RESOLVING
             CLAIM NOS. 188, 197, 198, AND 229 FILED BY IMAX CORPORATION




  1
   The Debtors in these chapter 11 cases and the last four digits of each Debtor’s taxpayer identification number are as
  follows: Frank Theatres Bayonne/South Cove, LLC (3162); Frank Entertainment Group, LLC (3966); Frank
  Management LLC (0186); Frank Theatres, LLC (5542); Frank All Star Theatres, LLC (0420); Frank Theatres
  Blacksburg LLC (2964); Frank Theatres Delray, LLC (7655); Frank Theatres Kingsport LLC (5083); Frank Theatres
  Montgomeryville, LLC (0692); Frank Theatres Parkside Town Commons LLC (9724); Frank Theatres Rio, LLC
  (1591); Frank Theatres Towne, LLC (1528); Frank Theatres York, LLC (7779); Frank Theatres Mt. Airy, LLC (7429);
  Frank Theatres Southern Pines, LLC (2508); Frank Theatres Sanford, LLC (7475); Frank Theatres Shallotte, LLC
  (7548); Revolutions at City Place LLC (6048); Revolutions of Saucon Valley LLC (1135); Frank Entertainment Rock
  Hill LLC (0753); Frank Entertainment PSL, LLC (7033); Frank Hospitality Saucon Valley LLC (8570); Frank
  Hospitality York LLC (6617); and Galleria Cinema, LLC (2529).

  2
   Upon the Effective Date of the Modified Plan, the presently operating Reorganized Debtors are as follows: Frank
  Entertainment Group, LLC; Frank Management, LLC; Frank Theatres York, LLC; Frank Hospitality York, LLC;
  Frank Theatres Delray, LLC; Frank Theatres Parkside Town Commons, LLC; Frank Blacksburg, LLC; Frank
  Theatres Southern Pines, LLC; Frank Theatres, LLC; and Frank Management, LLC

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        I, Eric S. Chafetz, hereby certify that with respect to the Stipulation and Consent Order

 Resolving Claim Nos. 188, 197, 198, and 229 Filed by IMAX Corporation (the “Consent Order”),

 submitted to the Court, the following conditions have been met:

        (a)    The terms of the copy of the captioned Consent Order are identical to those set forth
               in the original Consent Order;

        (b)    The signatures represented by the /s/ on the copy of the Consent Order submitted
               to the Court reference the signatures of consenting parties obtained on the original
               Consent Order;

        (c)    I will retain the original Consent Order for a period of seven (7) years from the date
               of closing of the case.

        (d)    I will make the original Consent Order available for inspection upon request of the
               Court or any party in interest; and

        (e)    I will simultaneously electronically file this certification with the Court, by use of
               my login and password, thereby signing same for all purposes including those under
               Fed. R. Bankr. P. 9011.

 Dated: April 6, 2020                                 Respectfully Submitted,

                                                      LOWENSTEIN SANDLER LLP

                                                      By: /s/ Eric S. Chafetz
                                                           Kenneth A. Rosen, Esq.
                                                           Joseph J. DiPasquale, Esq.
                                                           Eric S. Chafetz, Esq.
                                                           Michael Papandrea, Esq.
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                                                          Counsel to the Administrative and
                                                          Priority Claims Agent




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